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                              UNITED STATES DISTRICT COURT

                                  DISTRICT OF OREGON

                                   PORTLAND DIVISION


   DALLAS BUYERS CLUB, LLC,                  Case No.: 3:15-cv-0907-AC

                 Plaintiff,                  DECLARATION OF DR KAL TOTH IN
   v.                                        SUPPORT OF DEFENDANT’S MOTION
                                             FOR SUMMARY JUDGMENT
   JOHN HUSZAR
                                             FRCP 56
                 Defendants.




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I, Kal Toth, declare as follows:

1. As Vice President of Systems Engineering and later Vice President of Total Quality at The CGI
    Group, a company of over two thousand employees that developed software based systems for
    defense, transportation and communication applications including a highly secure messaging system
    for Canada’s embassies abroad, I managed a team conducting independent verification and validation
    of the system software for this $50M project. As VP Total Quality I trained project teams across the
    company’s regional offices on the best software engineering practices to follow and adapt to satisfy
    project needs.
2. As Director of Quality for Hughes Aircraft of Canada I led teams assuring the development of the
    system and software for five air traffic control systems, as well as the evolution of Hughes' software
    development process from a traditional waterfall development model to a comprehensive iterative
    software development model.
3. As Vice President of Engineering for Datalink Systems Inc. I directed and verified the work of
    software engineers developing and maintaining a complex software-intensive system capturing data
    and distributing real time stock quotes to mobile customer devices.
4. I was also the director of two academic programs delivering software engineering and information
    technology courses and master degrees to working professionals in Oregon and mature students
    attending nine universities in Western Canada.
5. I assessed the reliability of MaverickMonitor exploring the software development processes and work
    products used to create MaverickMonitor which I’ve documented in several expert reports.
6. I have read the “Bunting Report” filed as Docket 145 in this case.
7. Bunting appears to be knowledgeable and trained as a forensics investigator of digital media
    inspecting computer memories and log files using forensics tools and utilities. He has taught several
    forensics courses. However, Mr. Bunting does not appear to have any training in Software Validation
    and Verification, nor does he appear to have work experience in this area. His CV provides no
    evidence that he has any experience developing industry or commercial grade software, or
    comprehensively testing software-intensive systems to ensure that they reliably, accurately, and
    consistently meet requirements under normal, stressed, and loaded conditions.
8. Bunting’s tests can only be characterized as “confidence tests” configured to show that the system is
    functioning. His tests do not provide objective evidence that the system works reliably as designed
    and intended. Bunting’s tests are run under very lightly loaded conditions and are not nearly rigorous
    enough to conclude that the system works consistently, reliably and correctly under either typical or
    atypical operational loads and conditions.




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9. Bunting’s tests employs four (4) personal computers PCs and a source PC (seeder). These computers
    have different BitTorrent (BT) clients (open source software applications running the BitTorrent
    protocols). He installs 4 movie clips on the source PC which “seeds” (makes available) these movies
    clips to the other 4 PCs for download using BT. Bunty then installs a “torrent file” for each of the 4
    movie clips - one torrent file on each of the 4 PCs. After a period of time he confirms that each of the
    4 PCs acquires the desired movie clip. In the second phase he works with Perino and MaverickEye’s
    MaverickMonitor system claiming it detects that the test movie clips are stored on the test PCs.
10. Bunting’s test procedures and test results are highly ambiguous. The size of these movie clips is not
    clear (could be only a few pieces). Furthermore, he does not state whether MaverickMonitor detects
    all of the pieces of one movie clip on each PC, or all of the pieces of all four movies on all four PCs,
    or only a few pieces of one movie per PC. In other words, his descriptions and expected results are
    obfuscating given that it is not possible to reason about the completeness of his test procedures, know
    what the expected results should be, or whether the expected results are truly satisfied.
11. Bunting’s tests are also trivial. Testing with only 4 PCs with only 4 short movie clips provides does
    not provide objective proof that the system will run correctly in an operational settings were 100s or
    even 1000s of PCs collaborate in Bit Torrent swarms with numerous seeders, downloading 100s of
    full feature movies consisting of 100s or even thousands of pieces.
12. In my experience, effective testing must be driven by technical specifications of how the system is
    required to perform under various operational conditions where test procedures, and expected results
    are precisely and systematically spelled out, and are repeatable. Trivial, ambiguously specified tests
    and results can disguise behavior under load. I therefore conclude that Bunting’s testing methodology
    and asserted results are completely inadequate for validating the MaverickMonitor system.


I swear under the penalty of perjury under the laws of the United States of America that the above
is true and correct.


Executed on:     April 30, 2018




                                              Dr. Kal Toth
                                              Declarant




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